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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, LAVERNE VANN,                               CIVIL Al,1ION
ANTHONY BURTON, SHAMAL
BRYANT, THE GUARDIAN CIVIC
LEAGUE, PHILADELPHIA CHAPTER
OF THE NATIONAL ASSOCIATION OF
BLACK LAW ENFORCEMENT                                      NO. 17-5421
OFFICERS,
               Plaintiffs,

              v.

CITY OF PHILADELPHIA, CHIEF
INSPEl,"TOR ANTHONY BOYLE,      .
RAYMOND EVERS AND JOHN DOES #1- :
100,
                Defendants.
                            ORDER

       AND NOW, this 11th day of October, 2018, upon review of the Joint Letter submitted by

the parties and dated October 9, 2018 (ECF # 34) it is hereby ORDERED as follows:

       A.     The parties are referred to Magistrate Judge Richard A. Lloret for a Settlement
              Conference. The parties shall contact Magistrate Judge Lloret to schedule the
              Conference.
       B.     All case deadlines are stayed pending the completion of the Settlement
              Conference.
       C.     In the event the matter is not resolved at the Settlement Conference, the parties
              shall, upon completion of the Settlement Conference, submit a Status Report as to
              open discovery issues and Plaintiffs shall file their renewed Motion to Compel if
              all discovery issues (including the statu of the IA- Impact files) are not resolved
              within fourteen days thereafter.
                                            BY




                                            WENDY BEETLESTONE,J.
